B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re       Rick's, Inc.                                                                                      Case No.     20-81043
                                                                                 Debtor(s)                     Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                17,000.00
              Prior to the filing of this statement I have received                                        $                17,000.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 28, 2020                                                              /s/ Stuart M. Maples
     Date                                                                        Stuart M. Maples
                                                                                 Signature of Attorney
                                                                                 Maples Law Firm, PC
                                                                                 200 Clinton Ave. West, Ste 1000
                                                                                 Huntsville, AL 35801
                                                                                 (256) 489-9779 Fax: (256) 489-9720
                                                                                 Name of law firm




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